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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

JUSTIN BUCKNER,

Defendant.                                                No. 08-30071-DRH




                                     ORDER

HERNDON, Chief Judge:




                   Before the Court is the United States of America’s Agreed Motion

to Continue Sentencing (Doc. 99). The Government asks that Defendant Buckner’s

sentencing hearing scheduled for November 13, 2009 be continued so that he may

continue his cooperation with the Government. A continuance would also allow the

Government to fully advise the Court of the nature of Defendant’s cooperation at the

time of sentencing. Defendant does not object to the continuance and, in fact, joins

in the request for continuance. Based on the reasons set forth in the motion, the

Court GRANTS the Government’s Agreed Motion to Continue Sentencing (Doc. 99)

and CONTINUES the sentencing set for November 13, 2009 until February 5, 2010
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at 2:00 p.m.

           IT IS SO ORDERED.

           Signed this 9th day of November, 2009.



                                         /s/     DavidRHer|do|
                                         Chief Judge
                                         United States District Court




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